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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA                                 JS-6

                                    CIVIL MINUTES – GENERAL
 No.             2:21-cv-06292-ODW (KSx)                                  Date   December 6, 2021
 Title           Ignacio Vera v. Archland Property II L.P. et al.



 Present: The Honorable          Otis D. Wright, II, United States District Judge
                Sheila English                             Not reported                          N/A
                Deputy Clerk                       Court Reporter / Recorder                   Tape No.
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Not present                                            Not present
 Proceedings:                                 In Chambers

       Pursuant to Plaintiff’s Notice of Voluntary Dismissal (ECF No. 16) and Federal Rule of
Civil Procedure 41(a)(1):

         IT IS HEREBY ORDERED that:

         1.      The entire action and all claims asserted therein are hereby DISMISSED
                 WITHOUT PREJUDICE; and

         2.      All dates and deadlines in this action are VACATED and taken off calendar.

         The Clerk of the Court shall close this case.

         IT IS SO ORDERED.

                                                                                    :     00
                                                   Initials of Preparer   SE




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